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May 16, 2019
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VIA EMAIL and OVERNIGHT MAIL 49-m c-000 58-B AH

Hon. Chief Judge Beryl A. Howell

U.S. District Court for the District of Columbia
333 Constitution Avenue, N.W.

Washington D.C. 20001

Re: REQUEST TO MAKE PUBLIC LIST OF MISCELLANEOUS MATTERS
RELATED TO SPECIAL COUNSEL’S INVESTIGATION

Dear Chief Judge Howell:

I am an attorney for Cable News Network, Inc. and its journalist Katelyn Polantz, and we write to
respectfully request that you make public a list of the miscellaneous matters before this Court that
were initiated by the Office of Special Counsel or otherwise involved the Office during its
investigation into Russian interference in the 2016 presidential election.

This request includes all non-grand jury subpoena matters,' search warrant applications and orders,
applications and orders for communication records, applications and orders authorizing use of pen
registers, requests for assistance to foreign governments, and any other matters in which the Special
Counsel sought assistance or authorization from this Court, the existence of which was publicly
disclosed by the Attorney General and in the Special Counsel’s report.”

The need for transparency regarding the Special Counsel’s investigation is especially heightened
given the conclusion of his work, and we hope this additional information may be made accessible
to the public as soon as possible.

The Department of Justice has declined to provide further details about the Special Counsel’s use of
federal courts in these miscellaneous matters. Because the Special Counsel’s work has concluded,

 

1 Where permitted by law, this request includes any miscellaneous actions opened by third parties related to grand jury
subpoenas.

? Specifically, on March 24, 2019 Attorney General William Barr publicly revealed in a letter to Congress the Office of
Special Counsel’s extensive use of the federal judiciary in its investigation, stating that the courts, “...executed nearly
500 search warrants, obtained more than 230 orders for communication records, issued almost 50 orders authorizing use
of pen registers, [and] made 13 requests to foreign governments for evidence....” (at p.1)
https://www.cnn.com/2019/03/24/politics/read-mueller-key-findings-doj/index.html.

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And on April 18, 2019, a redacted version of Special Counsel Robert Mueller’s report to the Attorney General similarly

explained that Mueller’s office “executed nearly 500 search-and-seizure warrants; obtained more than 230 orders for
communications records under 18 U.S.C. § 2703(d); obtained almost 50 orders authorizing use of pen registers; made

13 requests to foreign governments pursuant to Mutual Legal Assistance Treaties....” (Vol. 1, at 13)
https://cdn.cnn.com/cnn/20 1 9/images/04/1 8/mueller-report-searchable.pdf. R E C F I Vy EF D

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) Clerk, U.S. District & Bankruptcy
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we believe that many if not all of the justifications preventing public disclosure of these matters
have dissipated.

We therefore request that this Court publicly release as much information about the above- ;
referenced miscellaneous sealed court actions as possible, in a timely manner that would increase
public understanding of the Office of Special Counsel’s use of the federal judiciary during the
course of its investigation.

This request is consistent with this Court’s inherent authority to manage its dockets and courtrooms
and with its May 31, 2018, “Memorandum of Understanding: Electronic Filing of Certain Sealed
Applications and Orders,” as amended April 24, 2019, which provides a mechanism for identifying
and making public sealed miscellaneous matters, and this Court’s opinions in Jn the Matter of the
Application of Jason Leopold to Unseal Certain Electronic Surveillance Applications and Orders
(1:13-mc-00712-BAH) which ordered the release of limited information regarding sealed
miscellaneous matters consistent with the Memorandum of Understanding.

For all of the reasons stated herein, CNN and Ms. Polantz respectfully request that, at a minimum,
this Court make public the case numbers, filing dates, and captions of the above-referenced matters.

We thank you for your consideration of this request, and please do not hesitate to contact me should
you have any questions or concerns or require further submissions regarding this matter.

Respectfully Submitted, ;

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Drew E. Shenkman
Senior Counsel, CNN

cc: Katelyn Polantz, CNN
